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                                              October 2, 2019


By ECF Filing
Hon. M. Page Kelley
United States Magistrate Judge
District of Massachusetts
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210


           Re:    United States of America v. Gordon Ernst, et al.; Case No. 1:19-cr-10081-IT

Dear Magistrate Judge Kelley:

       At the October 1 Status Conference you inquired about the volume of discovery provided
to defendants by the government in this case. Our e-discovery vendor tells us that there are
1,978,380 documents totaling 3,418,610 pages.

                                                            Respectfully submitted,



                                                            Shaun G. Clarke



cc:        All Counsel of Record (by ECF filing)




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